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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

 DEMI KOSTKA, et al., individually and on
 behalf of all others similarly situated,
                                                     No. 3:20-cv-3424-K
      Plaintiffs,
                                                     Hon. Ed Kinkeade
            v.
                                                        Consolidated with:
 DICKEY’S BARBECUE
 RESTAURANTS, INC., et al.,                          Civil Action No. 3:20-cv-3603-K
                                                     Civil Action No. 3:21-cv-0137-K
      Defendants.                                    Civil Action No. 3:21-cv-0769-K


    UNOPPOSED MOTION FOR ENTRY OF AN ORDER SETTING A SCHEDULE
             LEADING UP TO A FINAL APPROVAL HEARING


        Plaintiffs, by counsel, submit this Unopposed Motion to request that the Court enter the

proposed Preliminary Approval Order, and enter an order establishing the schedule set forth

below. In support of this Motion, Plaintiffs state as follows:

       1.        On August 14, 2021, Plaintiffs filed a Motion for Preliminary Approval of Class

Action Settlement and Plaintiffs’ Brief in Support (ECF No. 62).

       2.        On October 14, 2022, Magistrate Judge Rebecca Rutherford issued the Findings,

Conclusions, and Recommendations of United States Magistrate Judge Rebecca Rutherford,

determining that the proposed Settlement satisfies the criteria for preliminary approval, the

proposed Settlement Class should be preliminarily certified, and the proposed Notice Plan should

be approved (ECF No. 89).

       3.        On November 8, 2022, the Honorable Judge Ed Kinkeade issued an Order

Accepting Findings, Conclusions, and Recommendations of the United States Magistrate Judge

(ECF No. 90) (“Preliminary Approval Order”).




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       4.      Since the Preliminary Approval Order did not include a schedule for the final

approval hearing, Plaintiffs propose that the Court set the following schedule and enter the

Proposed Order Conditionally Certifying a Settlement Class pursuant to Fed. R. Civ. P. 23,

Granting Preliminary Approval of The Class Action Settlement, Approving the Form and Manner

of Notice, and Scheduling Final Approval Hearing, filed in connection herewith:


                     Event                                        [Proposed] Deadline
 Dickey’s provides CAFA notice required by            Occurred on August 20, 2021
 28 U.S.C. § 1715(b)
 Dickey’s provides notice to Class Counsel            Occurred on August 21, 2021
 and the Court of compliance with CAFA
 requirements
 Class notice program commences                       Within 30 days after entry of this Preliminary
                                                      Approval Order
 Motion for Attorney’s Fees, Reimbursement            At least 30 days before the objection deadline
 of Costs and Expenses, and Service Awards
 to be filed by Class Counsel
 Postmark deadline for requests for exclusion         135 days after entry of this Preliminary
 (Opt-Out) or objections                              Approval Order
 Postmark/filing deadline for filing claims           135 days after entry of this Preliminary
                                                      Approval Order
 Motion for Final Approval to be filed by class       At least 21 days before the Final Approval
 counsel                                              Hearing


       For these reasons, Plaintiffs respectfully request that the Court grant this Motion. Plaintiffs

have conferred with counsel for Defendants, and Defendants do not oppose this Motion.



Dated: November 23, 2022                                 Respectfully submitted,

                                                         /s/ Benjamin F. Johns
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                               CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served on counsel of

record through the Court’s CM/ECF system November 23, 2022.


                                            /s/ Benjamin F. Johns
                                            Benjamin F. Johns
